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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

XPO LOGISTICS SUPPLY CHAIN,                    )
INC.,                                          )
                                               )
                   Plaintiff,                  )
                                               )   Civil Action No. ________________
          v.                                   )
                                               )   JURY TRIAL DEMANDED
SAMSUNG SDS GLOBAL SCL                         )
AMERICA, INC.,                                 )
                                               )
                   Defendant.                  )

                                           COMPLAINT

          Plaintiff XPO Logistics Supply Chain, Inc. (“XPO”), for its Complaint against Defendant

Samsung SDS Global SCL America, Inc. (“Samsung”), alleges and states as follows:

                                         INTRODUCTION

          1.       XPO is a logistics company that, among other things, provides warehouse

management, transportation, and related logistical services to clients. Effective September 2018,

Samsung contracted with XPO to provide warehouse management services for a Samsung

warehouse located in Bethel, Pennsylvania. Samsung subsequently breached its contractual and

other legal obligations to XPO by failing to pay, without cause or justification, fees owed to XPO

for its services as set forth in the parties’ contract. As a result of Samsung’s failure to pay, XPO

seeks damages, pre and post-judgment interest, and its costs and reasonable attorneys’ fees in

bringing this action. XPO demands a jury trial on all issues so triable.

                                PARTIES, JURISDICTION, AND VENUE

          2.       XPO is, and at all relevant times was, a corporation incorporated and existing

under the laws of the State of North Carolina with its principal place of business in High Point,




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North Carolina. Due to a scrivener’s error, the parties’ contract incorrectly states that XPO is an

Iowa corporation.

          3.       Samsung is, and at all relevant times was, a corporation incorporated and existing

under the laws of the State of California with its principal place of business in San Diego,

California.

          4.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 in that

there is complete diversity of citizenship between the parties and the amount in controversy

exceeds the sum or value of $75,000.00, exclusive of interest and costs.

          5.       This Court has personal jurisdiction over Samsung as it conducts business within

the State of Delaware and has consented to the jurisdiction of this Court in the parties’ contract.

          6.       This Court is a proper venue pursuant to the parties’ contract.

                           ALLEGATIONS COMMON TO ALL COUNTS

                                            THE AGREEMENT

          7.       XPO is a logistics company providing warehousing, transportation, and related

logistical services.

          8.       Samsung is the U.S. subsidiary of Samsung SDS, a global software solutions and

IT services company. Samsung provides IT related solutions for customers in government,

financial services, retail, and other industries.

          9.       As of an Effective Date of September 5, 2018, XPO and Samsung entered into a

Warehousing Operating Services Agreement for Bethel, PA Warehouse (the “Agreement”; all

capitalized terms in this Complaint not otherwise defined have the definitions assigned to them

in the Agreement).




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          10.      The Agreement sets forth the terms and conditions under which XPO would

provide certain enumerated warehouse and transportation management services for Samsung’s

warehouse located in Bethel, Pennsylvania (the “Warehouse”).

          11.      In the Agreement, Samsung agreed, among other things, to pay XPO specified

fees in exchange for XPO providing the enumerated services.

                         SAMSUNG’S WRONGFUL FAILURE TO PAY XPO’S FEES

          12.      Sections 6 and 7 of the Agreement provide, among other things, that in exchange

for XPO’s services, Samsung is to pay XPO the fees set forth in the Agreement, including as set

forth in Schedule B.

          13.      Pursuant to the Agreement, XPO timely submitted to Samsung the following

invoices for the services XPO rendered:

           Invoice No.                       Invoice Date                    Amount Owed
          XX41022919011                     January 17, 2019                    $322,631.10
          XX41022919073                       July 31, 2019                       $30,119.13
          XX41022919083                     August 15, 2019                      $4,436.08
                                                               Total:           $357,186.31


          14.      Pursuant to Section 6 of the Agreement and the terms of the invoices, the time for

Samsung to pay XPO’s invoices has elapsed.

          15.      XPO has fully performed its obligations under the Agreement and any conditions

precedent to Samsung’s obligation to pay for the services that are the subject of the invoices have

been satisfied. XPO unsuccessfully attempted to resolve this dispute prior to filing this lawsuit.

          16.      As of the date of this Complaint, Samsung has, without cause or justification,

failed to pay XPO’s invoices in an approximate principal amount of $357,186.31. XPO may

continue to invoice Samsung for services rendered pursuant to the Agreement. If any such




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invoices are not timely paid, XPO will suffer continuing harm and its damages will continue to

accrue.

          17.      Pursuant to Section 32.F of the Agreement, XPO is entitled to recover its

attorneys’ fees and costs in bringing this action.

                                              COUNT I
                                         (Breach of Contract)

          18.      XPO repeats and incorporates herein by reference the allegations set forth in

Paragraphs 1 through 17.

          19.      Both XPO and Samsung have mutual obligations under the Agreement.

          20.      Both XPO and Samsung received valid consideration under the Agreement.

          21.      The Agreement is a valid and enforceable contract.

          22.      XPO fully performed its obligations under the Agreement and/or all conditions

precedent to Samsung’s obligation to pay the invoices have been satisfied. To the extent XPO

did not fully perform, it was fully prepared to perform and did in fact tender performance, but

was prevented from fully performing due to Samsung’s acts and omissions.

          23.      Samsung failed to perform and breached the Agreement by, inter alia, failing to

timely pay XPO’s invoices as set forth in the Agreement.

          24.      XPO suffered damages from Samsung’s breach of the Agreement including, but

not limited to, the amount of the unpaid invoices. As of the date of this Complaint, Samsung has

failed to pay the approximate principal amount of $357,186.31 owed to XPO under the

Agreement.




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                                           COUNT II
                                (Quantum Meruit/Unjust Enrichment)

          25.      XPO repeats and incorporates herein by reference the allegations set forth in

Paragraphs 1 through 17.

          26.      Samsung requested that XPO provide warehouse management services for the

Warehouse.

          27.      XPO conferred a benefit upon Samsung by providing warehouse management

services.

          28.      Samsung appreciated that a benefit was conferred, including, for a time, by fully or

partially paying XPO’s invoices for the services that it rendered.

          29.      Samsung’s acceptance and retention of the benefit of XPO’s warehouse

management services is inequitable and unjust under the circumstances as Samsung has not fully

paid for the value of the services XPO provided.

          30.      In light of the circumstances, Samsung has been unjustly enriched by its acceptance

and retention of the services rendered by XPO without rendering full payment for the value of the

services performed.

          31.      The services provided by XPO had a fair and reasonable value not less than the

amount of the unpaid invoices.

          32.      The amount of the unjust enrichment is no less than the balance of all of XPO’s

unpaid invoices.

          WHEREFORE, XPO prays the Court enter judgment in its favor and against Samsung in the

full amount due to XPO, pre- and post-judgment interest, costs of suit and attorneys’ fees, and for such

further relief as the Court deems just and proper.




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Dated: September 30, 2019                   RICHARDS, LAYTON & FINGER, P.A.

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